          EXHIBIT A




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Trial Ex.     Proffering                                                                     Additional                            Admission
No.           Party        Doc. Date      Bates        Description                           Description   Hyperlink to Document   Status
                                                       Senate Redistricting Committee
                                                       Meeting Minutes, Wednesday April 17,
            1P                4/17/2013                2013
                                                       Transcript - Senate Redistricting
                                                       Committee Meetong on SB 325, April
            2 P, D            4/17/2013                17, 2013
                                                       Transcript -Senate Floor Debate on SB
            3 P, D            4/22/2013                325, April 22, 2013
                                                       House Committee on Elections Minutes,
            4P                5/29/2013                Wednesday May 29, 2013
                                                       Transcript -House Floor Debate on SB
            5 P, D            6/10/2013                325,June 10, 2013
                                                       Senate Redistricting Committee
                                                       Meeting Minutes, Thursday March 5,
            6P                 3/5/2015                2015
                                                       Transcript - Senate Redistricting
                                                       Committee Meetong on SB 181, March
            7P                 3/5/2015                5, 2015
                                                       Senate Redistricting Committee
                                                       Meeting Minutes, Thursday March 10,
            8P                3/10/2015                2015
                                                       Transcript - Senate Redistricting
                                                       Committee Meetong on SB 181, March
            9 P, D            3/10/2015                10, 2015
                                                       Transcript -Senate Floor Debate on SB
        10 P, D               3/11/2015                181, March 11, 2015
                                                       Transcript -Senate Floor Debate on SB
        11 P, D               3/12/2015                181, March 12, 2015
                                                       House Committee on Elections Minutes,
        12 P                  3/31/2015                Tuesday, March 31,2015
                                                       Transcript -House Floor Debate on SB
        13 P, D                4/1/2015                181, April 1, 2015


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                                Public Policy Polling - Survey of 500
                                Wake County Voters - Wake Co.
14 P   3/20-22/2015             Commissioners Bill
15 P      11/3/2015             Expert Report of Dr. Jowei Chen

                                Table 1: Municipalities Kept Intact in
                                Enacted and Simulated Districting Plans,
16 P      11/3/2015             Expert Report of Dr. Jowei Chen
                                Table 2: Precincts Split into Two or
                                More Districts in Enacted and Simulated
                                Districting Plans, Expert Report of Dr.
17 P      11/3/2015             Jowei Chen
                                Figure 1, Expert Report of Dr. Jowei
18 P      11/3/2015             Chen
                                Figure 2, Expert Report of Dr. Jowei
19 P      11/3/2015             Chen
                                Figure 3: Two Super-District Plans:
                                Comparison of Enacted and Simulated
                                Plan Districts On Population Deviation
                                and Partisanship (2014 County
                                Commissioner Elections), Expert Report
20 P      11/3/2015             of Dr. Jowei Chen
                                Figure 4: Two Super-District Plans:
                                Comparison of Enacted and Simulated
                                Plan Districts On Population Deviation
                                and Partisanship (2012 County
                                Commissioner Elections and 2012
                                Presidential Election), Expert Report of
21 P      11/3/2015             Dr. Jowei Chen




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                             Figure 5: Comparison of Enacted and
                             Simulated District Plans On Population
                             Deviation and Partisanship, Seven-
                             District Plans (2014 County
                             Commissioner Elections), Expert Report
22 P   11/3/2015             of Dr. Jowei Chen

                             Figure 6: Comparison of Enacted and
                             Simulated Districting Plans On
                             Population Deviation and Partisanship,
                             Seven-Member District Plans (2012
                             County Commissioner Elections and
                             2012 Presidential Election), Expert
23 P   11/3/2015             Report of Dr. Jowei Chen
                             Figure 7: Black Census Blocks and
                             District #4 of the Legislature's Enacted 7-
                             District Plan, Expert Report of Dr. Jowei
24 P   11/3/2015             Chen
                             Figure 8: Comparison of Enacted and
                             Simulated Districting Plans on Black
                             Proportion and Partisanship (2012
                             Presidential Election) in the Blackest
                             District of Each 7-District Plan, Expert
25 P   11/3/2015             Report of Dr. Jowei Chen
                             Figure 9: Comparison of Enacted and
                             Simulated Districting Plans on Black
                             Proportion and Partisanship (2012
                             Presidential Election) in the Blackest
                             District of Each 7-District Plan (Only
                             Includes Simulated Districts Within 2%
                             of District 4's Partisanship), Expert
26 P   11/3/2015             Report of Dr. Jowei Chen
27 P   11/2/2015             Expert Report of Anthony Fairfax


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                             Appendix A - Anthony E. Fairfax
                             Redistricting/Mapping Experience,
28 P   11/2/2015             Expert Report of Anthony Fairfax

                             Appendix B - Wake County District
29 P   11/2/2015             Maps, Expert Report of Anthony Fairfax
                             Appendix C - Population Summary
                             Reports, Expert Report of Anthony
30 P   11/2/2015             Fairfax
                             Appendix D - Political Subdivision Split
                             Reports, Expert Report of Anthony
31 P   11/2/2015             Fairfax
                             Appendix E - Partisan Report on the
                             Enacted 7-2 District Report, Expert
32 P   11/2/2015             Report of Anthony Fairfax
                             Appendix F - Compactness Reports,
33 P   11/2/2015             Expert Report of Anthony Fairfax
                             Appendix G -Split Cities/Towns (Census
                             Places) Communities of Interest
                             Reports, Expert Report of Anthony
34 P   11/2/2015             Fairfax
                             Figure 1 -Wake, NC Enacted Super
                             District Plan w/ Population, Expert
35 P   11/2/2015             Report of Anthony Fairfax
                             Figure 2-Wake, NC Enacted 7-District
                             Plan w/ Obama08%/VTD Splits, Expert
36 P   11/2/2015             Report of Anthony Fairfax

                             Figure 3-Wake, NC Enacted 7-District
                             Plan w/ Obama08%/Blocks GT50% Black
37 P   11/2/2015             Zoom, Expert Report of Anthony Fairfax




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                             Figure 4-Wake, NC Enacted Super
                             District Plan w/ Obama08%/VTD Splits,
38 P   11/2/2015             Expert Report of Anthony Fairfax
                             Figure 5-Wake, NC Enacted Super
                             District Plan w/ Obama08%/VTD
                             Splits/Blockis GT50% Black Zoom, Expert
39 P   11/2/2015             Report of Anthony Fairfax
                             Figure 6 -Wake, NC Enacted 7-District
                             Plan w/ 2011 School Board Incumbents
                             by Party, Expert Report of Anthony
40 P   11/2/2015             Fairfax
                             Figure 7 -Wake, NC Enacted Super
                             District Plan w/ Board of County
                             Commissioner Incumbents, Expert
41 P   11/2/2015             Report of Anthony Fairfax
                             Table 1 -Overall Population Deviation
                             Comparison (Enacted 7-2 and 2011 SB 9-
                             District), Expert Report of Anthony
42 P   11/2/2015             Fairfax
                             Table 2 -District Population Deviation
                             Comparison (Enacted 7-2 District and
                             2011 SB 9-District), Expert Report of
43 P   11/2/2015             Anthony Fairfax
                             Table 3 -Overall Population Deviation
                             Comparison (Gill 7 District and Super
                             District), Expert Report of Anthony
44 P   11/2/2015             Fairfax

                             Table 4 -District Population Deviation
                             Comparison (Gill 7 District and Gill Super
45 P   11/2/2015             Ward), Expert Report of Anthony Fairfax




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                             Table 5 -Voting District Splits per District
                             (2011 SB 9-District, Enacted 7-2, and Gill
                             7-2 District Plans), Expert Report of
46 P   11/2/2015             Anthony Fairfax
                             Table 6 -District Partisan Results Using
                             2004/2008 Presidential Election (New
                             Enacted 7-2 Plan), Expert Report of
47 P   11/2/2015             Anthony Fairfax

                             Table 7 -Compactness Measures: More
                             Compact than District 4 of Enacted 7-2
                             Plan (2011 SB 9-District, Enacted 7-2,
                             and Gill Alternative Plans), Expert
48 P   11/2/2015             Report of Anthony Fairfax
                             Table 8 -NC Enacted 7-District w/2011
                             School Board Incumbents by Party,
49 P   11/2/2015             Expert Report of Anthony Fairfax
                             Table 9 -Split Cites & Towns, Expert
50 P   11/2/2015             Report of Anthony Fairfax
                                                                            http://www.wcpss.net/c
                                                                            ms/lib/NC01911451/Cen
51 P                         WCPSS - Demographics, 2011-12                  tricity/Domain/100/book
                             Board of County Commissioners Work
52 P    1/7/2013             Session - Legislative Goals
                                                                            http://www.wakegov.co
                             Wake County Board of County                    m/gis/services/Documen
53 P                         Commissioner Residency Districts Map           ts/CommissionerDist_8x
                                                                            http://www.wakegov.co
                             Wake County 2011 School Board                  m/gis/services/Documen
54 P                         Districts Map                                  ts/SchoolBoardDistricts.p




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                                                                       http://www.wakegov.co
                                                                       m/elections/data/Past%
                                                                       20Election%20Results/20
                                                                       14-11-04%20-
                              Wake County November 2014 General        %20General%20Election/
55 P    11/4/2014             Election Results                         2014.11.04.Summary.ht
                                                                       http://www.wakegov.co
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                                                                       13-10-08%20-
                                                                       %20Raleigh%20and%20C
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                              Wake County Board of Education           cation%20Election/2013.
56 P    10/8/2013             Election Results 2013                    10.08.Summary.htm
                                                                       http://www.wakegov.co
                                                                       m/elections/data/Past%
                                                                       20Election%20Results/20
                                                                       12-11-06%20-
                              Wake County November 2012 General        %20General%20Election/
57 P    11/6/2012             Election Results                         2012.11.06.Summary.ht
                                                                       http://www.wakegov.co
                                                                       m/elections/data/Past%
                                                                       20Election%20Results/20
                                                                       11-10-11%20-
                                                                       %20Municipal%20and%2
                                                                       0Board%20of%20Educati
                              Wake County Board of Education           on%20Election/2011.10.
58 P   10/11/2011             Election Results 2011                    11.Summary.htm




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                                                                      http://www.wakegov.co
                                                                      m/elections/data/Past%
                                                                      20Election%20Results/20
                                                                      11-11-08%20-
                                                                      %20Municipal%20Electio
                                                                      ns%20and%20Board%20
                             Wake County Board of Education           of%20Education%20Run
59 P   11/8/2011             Election Results 2011 Runoff             off/2011.11.08.Summary
                                                                      http://www.wakegov.co
                                                                      m/elections/data/Past%
                                                                      20Election%20Results/20
                                                                      10-11-02%20-
                             Wake County November 2010 General        %20General%20Election/
60 P   11/2/2010             Election Results                         2010.11.02.Summary.ht
                                                                      http://www.wakegov.co
                                                                      m/elections/data/Past%
                                                                      20Election%20Results/20
                                                                      09-10-06%20-
                                                                      %20Municipal%20and%2
                                                                      0Board%20of%20Educati
                             Wake County Board of Education           on%20Election/2009100
61 P   10/6/2009             Election Results 2009                    6Summary.html
                                                                      http://www.wakegov.co
                                                                      m/elections/data/Past%
                                                                      20Election%20Results/20
                                                                      09-11-03%20-
                                                                      %20Municipal%20Electio
                                                                      ns,%20Cary%20and%20B
                                                                      oard%20of%20Education
                             Wake County Board of Education           %20Runoffs/20091103Su
62 P   11/3/2009             Election Results 2009 Runoff             mmary.html




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                                                                     http://www.wakegov.co
                                                                     m/elections/data/Past%
                                                                     20Election%20Results/20
                                                                     08-11-04%20-
                            Wake County November 2008 General        %20General%20Election/
63 P   11/4/2008            Election Results                         20081104Summary.htm
                                                                     http://www.wakegov.co
                                                                     m/elections/data/Past%
                                                                     20Election%20Results/20
                                                                     07-10-09%20-
                                                                     %20Raleigh%20and%20C
                                                                     ary%20Municipal%20and
                                                                     %20Board%20of%20Edu
                                                                     cation%20Election,%20a
                                                                     nd%20Wake%20County
                            Wake County Board of Education           %20and%20Raleigh%20B
64 P   10/9/2007            Election Results 2007                    ond%20Referendums/20
                                                                     http://www.wakegov.co
                                                                     m/elections/data/Past%
                                                                     20Election%20Results/20
                                                                     06-11-07%20-
                            Wake County November 2006 General        %20General%20Election/
65 P   11/7/2006            Election Results                         20061107Summary.HTM




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                                                                      http://www.wakegov.co
                                                                      m/elections/data/Pages/
                                                                      pastelectionresults.aspx?
                                                                      RootFolder=%2Felections
                                                                      %2Fdata%2FPast%20Elec
                                                                      tion%20Results%2F2005-
                                                                      10-11%20-
                                                                      %20Raleigh%20and%20C
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                                                                      cation%20Election%2C%
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                                                                      nty%20and%20Raleigh%
                                                                      20Bond%20Referendums
                                                                      &FolderCTID=0x0120007
                             Wake County Board of Education           7226CAC6580554FA2400
66 P   10/11/2005            Election Results 2005                    8B4058DC0B2&View={B0
                                                                      http://www.wakegov.co
                                                                      m/elections/data/Past%
                                                                      20Election%20Results/20
                                                                      05-11-08%20-
                                                                      %20Municipal%20Electio
                                                                      ns%20and%20Board%20
                             Wake County Board of Education           of%20Education%20Run
67 P    11/8/2005            Election Results 2005 Runoff             off/20051108Summary.r
                                                                      http://www.wakegov.co
                                                                      m/elections/data/Past%
                                                                      20Election%20Results/20
                                                                      04-11-02%20-
                             Wake County November 2004 General        %20General%20Election/
68 P    11/2/2004            Election Results                         20041102Summary.rtf




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                                                                     http://www.wakegov.co
                                                                     m/elections/data/Past%
                                                                     20Election%20Results/20
                                                                     02-11-05%20-
                            Wake County November 2002 General        %20General%20Election/
69 P   11/5/2002            Election Results                         20021105Summary.txt
                                                                     http://www.wakegov.co
                                                                     m/elections/data/Past%
                                                                     20Election%20Results/20
                                                                     00-11-07%20-
                            Wake County November 2000 General        %20General%20Election/
70 P   11/7/2000            Election Results                         20001107Summary.txt
                                                                     http://www.wakegov.co
                                                                     m/elections/candidates/
                                                                     Campaign%20Finance%2
                                                                     0Reports/Candidate%20
                            2014 - 4th Quarter Campaign Finance      Committees/H/Hutchins
71 P   1/12/2015            Report - Sig Hutcherson                  on_Sig_2015-1-12.pdf
                                                                     http://www.wakegov.co
                                                                     m/elections/candidates/
                                                                     Campaign%20Finance%2
                                                                     0Reports/Candidate%20
                            2014 - 4th Quarter Campaign Finance      Committees/C/Calabria,
72 P   1/13/2015            Report - Matt Calabria                   %20Matt/Calabria_Matt
                                                                     http://www.wakegov.co
                                                                     m/elections/candidates/
                                                                     Campaign%20Finance%2
                                                                     0Reports/Candidate%20
                            2014 - 4th Quarter Campaign Finance      Committees/H/Holmes_J
73 P   1/12/2015            Report - Jessica Holmes                  essica_2015-1-12.pdf




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                                                                     http://www.wakegov.co
                                                                     m/elections/candidates/
                                                                     Campaign%20Finance%2
                                                                     0Reports/Candidate%20
                            2014 - 4th Quarter Campaign Finance      Committees/B/Burns_Jo
74 P   1/12/2015            Report - John Burns                      hn_2015-1-12.pdf
                                                                     http://www.wakegov.co
                                                                     m/elections/candidates/
                                                                     Campaign%20Finance%2
                                                                     0Reports/Candidate%20
                            2012 - 4th Quarter Campaign Finance      Committees/S/Sullivan_C
75 P   1/10/2013            Report - Caroline Sullivan               aroline_2013-01-14.pdf
                                                                     http://www.wakegov.co
                                                                     m/elections/candidates/
                                                                     Campaign%20Finance%2
                                                                     0Reports/Candidate%20
                            2012 - 4th Quarter Campaign Finance      Committees/W/West_Ja
76 P    1/4/2013            Report - James West                      mes_2013-01-14.pdf
                                                                     http://www.wakegov.co
                                                                     m/elections/candidates/
                                                                     Campaign%20Finance%2
                                                                     0Reports/Candidate%20
                            2012 - 4th Quarter Campaign Finance      Committees/W/Ward_B
77 P    1/1/2013            Report - Betty Lou Ward                  etty_2013-01-14.pdf
                                                                     http://www.wakegov.co
                                                                     m/elections/candidates/
                                                                     Campaign%20Finance%2
                                                                     0Reports/Candidate%20
                            2010 - 4th Quarter Campaign Finance      Committees/B/Bryan_Jo
78 P   1/10/2011            Report - Joe Bryan                       e_2011-01-10.pdf




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                                                                                       http://www.wakegov.co
                                                                                       m/elections/candidates/
                                                                                       Campaign%20Finance%2
                                                                                       0Reports/Candidate%20
                                     2010 - 4th Quarter Campaign Finance               Committees/M/Matthew
79 P       1/10/2011                 Report - Phil Matthews                            s_Phil_2011-01-18.pdf
                                                                                       http://www.wakegov.co
                                                                                       m/elections/candidates/
                                                                                       Campaign%20Finance%2
                                                                                       0Reports/Candidate%20
                                     2010 - 4th Quarter Campaign Finance               Committees/G/Gurley_T
80 P       1/11/2011                 Report - Tony Gurley                              ony_2011-01-13.pdf
                                                                                       http://www.wakegov.co
                                                                                       m/elections/candidates/
                                                                                       Campaign%20Finance%2
                                                                                       0Reports/Candidate%20
                                  2010 - 4th Quarter Campaign Finance                  Committees/C/Coble,%2
81 P       1/10/2011              Report - Paul Coble                                  0Paul/Coble_Paul_2011-
                     WBOE_000014- Wake Bd. of Elections - Budget Info and
82 P       3/11/2015 22           Board of Education District
                     WBOE_000113- SEIMS issues with School Board super
83 P        3/4/2015 115          districts
                     WBOE_000256-
84 P       3/10/2015 258          SEIMS issues with BoCC super districts
                     WBOE_000386- 2011 legislative changes re: Wake BoCC
85 P       9/30/2015 87           residency districts
86 BLANK
87 BLANK
                                     2015-2016 WCPSS School Assignment      ABBOTTS    2015 BASE ATTENDANCE
88 P                                 Base Map - Elementary                  CREEK ES   AREA (Trad)
                                     2015-2016 WCPSS School Assignment                 2015 BASE ATTENDANCE
                                                                            ADAMS ES
89 P                                 Base Map - Elementary                             AREA (YR)
                                     2015-2016 WCPSS School Assignment      ALSTON     2015 BASE ATTENDANCE
90 P                                 Base Map - Elementary                  RIDGE ES   AREA (YR)


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                        2015-2016 WCPSS School Assignment              2015 BASE ATTENDANCE
                                                            APEX ES
 91 P                   Base Map - Elementary                          AREA (Trad)
                        2015-2016 WCPSS School Assignment   AVERSBORO 2015 BASE ATTENDANCE
 92 P                   Base Map - Elementary               ES         AREA (Trad)
                        2015-2016 WCPSS School Assignment   BAILEYWICK 2015 BASE ATTENDANCE
 93 P                   Base Map - Elementary               ES         AREA (Trad)
                        2015-2016 WCPSS School Assignment   BALLENTINE 2015 BASE ATTENDANCE
 94 P                   Base Map - Elementary               ES         AREA (YR)
                        2015-2016 WCPSS School Assignment   BANKS RD   2015 BASE ATTENDANCE
 95 P                   Base Map - Elementary               ES         AREA (YR)
                        2015-2016 WCPSS School Assignment   BARWELL RD 2015 BASE ATTENDANCE
 96 P                   Base Map - Elementary               ES         AREA (YR)
                        2015-2016 WCPSS School Assignment              2015 BASE ATTENDANCE
                                                            BAUCOM ES
 97 P                   Base Map - Elementary                          AREA (Trad)
                        2015-2016 WCPSS School Assignment   BRASSFIELD 2015 BASE ATTENDANCE
 98 P                   Base Map - Elementary               ES         AREA (YR)
                        2015-2016 WCPSS School Assignment   BRENTWOO 2015 BASE ATTENDANCE
 99 P                   Base Map - Elementary               D ES       AREA (Trad)
                        2015-2016 WCPSS School Assignment   BRIARCLIFF 2015 BASE ATTENDANCE
100 P                   Base Map - Elementary               ES         AREA (Trad)
                        2015-2016 WCPSS School Assignment   BRIER      2015 BASE ATTENDANCE
101 P                   Base Map - Elementary               CREEK ES   AREA (YR)
                        2015-2016 WCPSS School Assignment              2015 BASE ATTENDANCE
                                                            BROOKS ES
102 P                   Base Map - Elementary                          AREA (Trad)
                        2015-2016 WCPSS School Assignment              2015 BASE ATTENDANCE
                                                            BUGG ES
103 P                   Base Map - Elementary                          AREA (Trad)
                        2015-2016 WCPSS School Assignment   CARPENTER 2015 BASE ATTENDANCE
104 P                   Base Map - Elementary               ES         AREA (YR)
                        2015-2016 WCPSS School Assignment              2015 BASE ATTENDANCE
                                                            CARVER ES
105 P                   Base Map - Elementary                          AREA (Mod)
                        2015-2016 WCPSS School Assignment              2015 BASE ATTENDANCE
                                                            CARY ES
106 P                   Base Map - Elementary                          AREA (Trad)
                        2015-2016 WCPSS School Assignment   CEDAR FORK 2015 BASE ATTENDANCE
107 P                   Base Map - Elementary               ES         AREA (Trad)


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                        2015-2016 WCPSS School Assignment               2015 BASE ATTENDANCE
                                                            COMBS ES
108 P                   Base Map - Elementary                           AREA (Trad)
                        2015-2016 WCPSS School Assignment               2015 BASE ATTENDANCE
                                                            CONN ES
109 P                   Base Map - Elementary                           AREA (Trad)
                        2015-2016 WCPSS School Assignment   CREECH RD 2015 BASE ATTENDANCE
110 P                   Base Map - Elementary               ES          AREA (Trad)
                        2015-2016 WCPSS School Assignment               2015 BASE ATTENDANCE
                                                            DAVIS DR ES
111 P                   Base Map - Elementary                           AREA (Trad)
                        2015-2016 WCPSS School Assignment   DILLARD DR 2015 BASE ATTENDANCE
112 P                   Base Map - Elementary               ES          AREA (Trad)
                        2015-2016 WCPSS School Assignment               2015 BASE ATTENDANCE
                                                            DOUGLAS ES
113 P                   Base Map - Elementary                           AREA (Trad)
                        2015-2016 WCPSS School Assignment   DURANT RD 2015 BASE ATTENDANCE
114 P                   Base Map - Elementary               ES          AREA (YR)
                        2015-2016 WCPSS School Assignment   EAST        2015 BASE ATTENDANCE
115 P                   Base Map - Elementary               GARNER ES AREA (Trad)
                        2015-2016 WCPSS School Assignment   FARMINGTO 2015 BASE ATTENDANCE
116 P                   Base Map - Elementary               N WOODS ES AREA (Trad)
                        2015-2016 WCPSS School Assignment   FOREST      2015 BASE ATTENDANCE
117 P                   Base Map - Elementary               PINES DR ES AREA (Trad)
                        2015-2016 WCPSS School Assignment   FORESTVILL 2015 BASE ATTENDANCE
118 P                   Base Map - Elementary               E RD ES     AREA (Trad)
                        2015-2016 WCPSS School Assignment               2015 BASE ATTENDANCE
                                                            FOX RD ES
119 P                   Base Map - Elementary                           AREA (Trad)
                        2015-2016 WCPSS School Assignment               2015 BASE ATTENDANCE
                                                            FULLER ES
120 P                   Base Map - Elementary                           AREA (Trad)
                        2015-2016 WCPSS School Assignment   FUQUAY-     2015 BASE ATTENDANCE
121 P                   Base Map - Elementary               VARINA ES   AREA (Trad)
                        2015-2016 WCPSS School Assignment               2015 BASE ATTENDANCE
                                                            GREEN ES
122 P                   Base Map - Elementary                           AREA (Trad)
                        2015-2016 WCPSS School Assignment   GREEN       2015 BASE ATTENDANCE
123 P                   Base Map - Elementary               HOPE ES     AREA (Trad)
                        2015-2016 WCPSS School Assignment   HARRIS      2015 BASE ATTENDANCE
124 P                   Base Map - Elementary               CREEK ES    AREA (YR)


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                        2015-2016 WCPSS School Assignment   HERBERT    2015 BASE ATTENDANCE
125 P                   Base Map - Elementary               AKINS ES   AREA (YR)
                        2015-2016 WCPSS School Assignment   HERITAGE   2015 BASE ATTENDANCE
126 P                   Base Map - Elementary               ES         AREA (YR)
                        2015-2016 WCPSS School Assignment   HIGHCROFT 2015 BASE ATTENDANCE
127 P                   Base Map - Elementary               DR ES      AREA (YR-Trk 4)
                        2015-2016 WCPSS School Assignment   HILBURN    2015 BASE ATTENDANCE
128 P                   Base Map - Elementary               DRIVE ACAD AREA (Trad)
                        2015-2016 WCPSS School Assignment   HODGE RD   2015 BASE ATTENDANCE
129 P                   Base Map - Elementary               ES         AREA (YR-Trk 4)
                        2015-2016 WCPSS School Assignment   HOLLY      2015 BASE ATTENDANCE
130 P                   Base Map - Elementary               GROVE ES   AREA (YR)
                        2015-2016 WCPSS School Assignment   HOLLY      2015 BASE ATTENDANCE
131 P                   Base Map - Elementary               RIDGE ES   AREA (Trad)
                        2015-2016 WCPSS School Assignment   HOLLY      2015 BASE ATTENDANCE
132 P                   Base Map - Elementary               SPRINGS ES AREA (YR)
                        2015-2016 WCPSS School Assignment              2015 BASE ATTENDANCE
                                                            HUNTER ES
133 P                   Base Map - Elementary                          AREA (Trad)
                        2015-2016 WCPSS School Assignment   JEFFREYS   2015 BASE ATTENDANCE
134 P                   Base Map - Elementary               GROVE ES   AREA (Trad)
                        2015-2016 WCPSS School Assignment   JONES      2015 BASE ATTENDANCE
135 P                   Base Map - Elementary               DAIRY ES   AREA (YR)
                        2015-2016 WCPSS School Assignment              2015 BASE ATTENDANCE
                                                            JOYNER ES
136 P                   Base Map - Elementary                          AREA (Trad)
                        2015-2016 WCPSS School Assignment   KINGSWOOD 2015 BASE ATTENDANCE
137 P                   Base Map - Elementary               ES         AREA (Trad)
                        2015-2016 WCPSS School Assignment   KNIGHTDALE 2015 BASE ATTENDANCE
138 P                   Base Map - Elementary               ES         AREA (Trad)
                        2015-2016 WCPSS School Assignment              2015 BASE ATTENDANCE
                                                            LACY ES
139 P                   Base Map - Elementary                          AREA (Trad)
                        2015-2016 WCPSS School Assignment   LAKE MYRA 2015 BASE ATTENDANCE
140 P                   Base Map - Elementary               ES         AREA (YR-Trk 4)
                        2015-2016 WCPSS School Assignment   LAUREL     2015 BASE ATTENDANCE
141 P                   Base Map - Elementary               PARK ES    AREA (YR)


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                        2015-2016 WCPSS School Assignment   LEAD MINE  2015 BASE ATTENDANCE
142 P                   Base Map - Elementary               ES         AREA (Trad)
                        2015-2016 WCPSS School Assignment   LEESVILLE  2015 BASE ATTENDANCE
143 P                   Base Map - Elementary               RD ES      AREA (Trad)
                        2015-2016 WCPSS School Assignment   LINCOLN    2015 BASE ATTENDANCE
144 P                   Base Map - Elementary               HEIGHTS ES AREA (Trad)
                        2015-2016 WCPSS School Assignment   LOCKHART   2015 BASE ATTENDANCE
145 P                   Base Map - Elementary               ES         AREA (YR-Trk 4)
                        2015-2016 WCPSS School Assignment              2015 BASE ATTENDANCE
                                                            LYNN RD ES
146 P                   Base Map - Elementary                          AREA (Trad)
                        2015-2016 WCPSS School Assignment   MIDDLE     2015 BASE ATTENDANCE
147 P                   Base Map - Elementary               CREEK ES   AREA (YR)
                        2015-2016 WCPSS School Assignment   MILLBROOK 2015 BASE ATTENDANCE
148 P                   Base Map - Elementary               ES         AREA (Trad)
                        2015-2016 WCPSS School Assignment   MILLS PARK 2015 BASE ATTENDANCE
149 P                   Base Map - Elementary               ES         AREA (Trad)
                        2015-2016 WCPSS School Assignment   MORRISVILL 2015 BASE ATTENDANCE
150 P                   Base Map - Elementary               E ES       AREA (YR)
                        2015-2016 WCPSS School Assignment   N FOREST   2015 BASE ATTENDANCE
151 P                   Base Map - Elementary               PINES ES   AREA (YR)
                        2015-2016 WCPSS School Assignment              2015 BASE ATTENDANCE
                                                            N RIDGE ES
152 P                   Base Map - Elementary                          AREA (Trad)
                        2015-2016 WCPSS School Assignment   NORTHWOO 2015 BASE ATTENDANCE
153 P                   Base Map - Elementary               DS ES      AREA (Trad)
                        2015-2016 WCPSS School Assignment   OAK GROVE 2015 BASE ATTENDANCE
154 P                   Base Map - Elementary               ES         AREA (YR)
                        2015-2016 WCPSS School Assignment              2015 BASE ATTENDANCE
                                                            OLDS ES
155 P                   Base Map - Elementary                          AREA (Trad)
                        2015-2016 WCPSS School Assignment   OLIVE      2015 BASE ATTENDANCE
156 P                   Base Map - Elementary               CHAPEL ES AREA (YR)
                        2015-2016 WCPSS School Assignment   PARTNERSHI 2015 BASE ATTENDANCE
157 P                   Base Map - Elementary               P ES       AREA (Mod)
                        2015-2016 WCPSS School Assignment   PENNY RD   2015 BASE ATTENDANCE
158 P                   Base Map - Elementary               ES         AREA (Trad)


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                        2015-2016 WCPSS School Assignment   PLEASANT   2015 BASE ATTENDANCE
159 P                   Base Map - Elementary               UNION ES   AREA (YR)
                        2015-2016 WCPSS School Assignment              2015 BASE ATTENDANCE
                                                            POE ES
160 P                   Base Map - Elementary                          AREA (Trad)
                        2015-2016 WCPSS School Assignment              2015 BASE ATTENDANCE
                                                            POWELL ES
161 P                   Base Map - Elementary                          AREA (Trad)
                        2015-2016 WCPSS School Assignment              2015 BASE ATTENDANCE
                                                            RAND RD ES
162 P                   Base Map - Elementary                          AREA (YR-Trk 4)
                        2015-2016 WCPSS School Assignment   REEDY      2015 BASE ATTENDANCE
163 P                   Base Map - Elementary               CREEK ES   AREA (Trad)
                        2015-2016 WCPSS School Assignment   RICHLAND   2015 BASE ATTENDANCE
164 P                   Base Map - Elementary               CREEK ES   AREA (Trad)
                        2015-2016 WCPSS School Assignment   RIVER BEND 2015 BASE ATTENDANCE
165 P                   Base Map - Elementary               ES         AREA (YR)
                        2015-2016 WCPSS School Assignment   ROLESVILLE 2015 BASE ATTENDANCE
166 P                   Base Map - Elementary               ES         AREA (Trad)
                        2015-2016 WCPSS School Assignment              2015 BASE ATTENDANCE
                                                            ROOT ES
167 P                   Base Map - Elementary                          AREA (Trad)
                        2015-2016 WCPSS School Assignment              2015 BASE ATTENDANCE
                                                            SALEM ES
168 P                   Base Map - Elementary                          AREA (YR)
                        2015-2016 WCPSS School Assignment   SANFORD    2015 BASE ATTENDANCE
169 P                   Base Map - Elementary               CREEK ES   AREA (YR)
                        2015-2016 WCPSS School Assignment   SCOTTS     2015 BASE ATTENDANCE
170 P                   Base Map - Elementary               RIDGE ES   AREA (Trad)
                        2015-2016 WCPSS School Assignment              2015 BASE ATTENDANCE
                                                            SMITH ES
171 P                   Base Map - Elementary                          AREA (Trad)
                        2015-2016 WCPSS School Assignment              2015 BASE ATTENDANCE
                                                            STOUGH ES
172 P                   Base Map - Elementary                          AREA (Trad)
                        2015-2016 WCPSS School Assignment   SWIFT      2015 BASE ATTENDANCE
173 P                   Base Map - Elementary               CREEK ES   AREA (Trad)
                        2015-2016 WCPSS School Assignment   SYCAMORE 2015 BASE ATTENDANCE
174 P                   Base Map - Elementary               CREEK ES   AREA (YR)
                        2015-2016 WCPSS School Assignment   TIMBER DR  2015 BASE ATTENDANCE
175 P                   Base Map - Elementary               ES         AREA (YR-Trk 4)


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                        2015-2016 WCPSS School Assignment   TURNER     2015 BASE ATTENDANCE
176 P                   Base Map - Elementary               CREEK ES   AREA (YR)
                        2015-2016 WCPSS School Assignment   UNDERWOO 2015 BASE ATTENDANCE
177 P                   Base Map - Elementary               D ES       AREA (Trad)
                        2015-2016 WCPSS School Assignment              2015 BASE ATTENDANCE
                                                            VANCE ES
178 P                   Base Map - Elementary                          AREA (YR-Trk 4)
                        2015-2016 WCPSS School Assignment   VANDORA    2015 BASE ATTENDANCE
179 P                   Base Map - Elementary               SPRINGS ES AREA (Trad)
                        2015-2016 WCPSS School Assignment   WAKEFIELD 2015 BASE ATTENDANCE
180 P                   Base Map - Elementary               ES         AREA (Trad)
                        2015-2016 WCPSS School Assignment   WAKE       2015 BASE ATTENDANCE
181 P                   Base Map - Elementary               FOREST ES AREA (Trad)
                        2015-2016 WCPSS School Assignment   WAKELON    2015 BASE ATTENDANCE
182 P                   Base Map - Elementary               ES         AREA (Trad)
                        2015-2016 WCPSS School Assignment   WALNUT     2015 BASE ATTENDANCE
183 P                   Base Map - Elementary               CREEK ES   AREA (Trad)
                        2015-2016 WCPSS School Assignment   WASHINGTO 2015 BASE ATTENDANCE
184 P                   Base Map - Elementary               N ES       AREA (Trad)
                        2015-2016 WCPSS School Assignment   WEATHERST 2015 BASE ATTENDANCE
185 P                   Base Map - Elementary               ONE ES     AREA (Trad)
                        2015-2016 WCPSS School Assignment              2015 BASE ATTENDANCE
                                                            WENDELL ES
186 P                   Base Map - Elementary                          AREA (Trad)
                        2015-2016 WCPSS School Assignment              2015 BASE ATTENDANCE
                                                            W LAKE ES
187 P                   Base Map - Elementary                          AREA (YR)
                        2015-2016 WCPSS School Assignment              2015 BASE ATTENDANCE
                                                            WILBURN ES
188 P                   Base Map - Elementary                          AREA (YR)
                        2015-2016 WCPSS School Assignment   WILDWOOD 2015 BASE ATTENDANCE
189 P                   Base Map - Elementary               FOREST ES AREA (Trad)
                        2015-2016 WCPSS School Assignment              2015 BASE ATTENDANCE
                                                            WILEY ES
190 P                   Base Map - Elementary                          AREA (Trad)
                        2015-2016 WCPSS School Assignment   WILLOW     2015 BASE ATTENDANCE
191 P                   Base Map - Elementary               SPRINGS ES AREA (YR)
                        2015-2016 WCPSS School Assignment   YATES MILL 2015 BASE ATTENDANCE
192 P                   Base Map - Elementary               ES         AREA (Trad)


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                        2015-2016 WCPSS School Assignment               2015 BASE ATTENDANCE
                                                            YORK ES
193 P                   Base Map - Elementary                           AREA (Trad)
                        2015-2016 WCPSS School Assignment               2015 BASE ATTENDANCE
                                                            ZEBULON ES
194 P                   Base Map - Elementary                           AREA (Trad)
                        2015-2016 WCPSS School Assignment   APEX MS     2015 BASE ATTENDANCE
195 P                   Base Map - Middle                               AREA (Trad)
                        2015-2016 WCPSS School Assignment   CARNAGE     2015 BASE ATTENDANCE
                                                            MS
196 P                   Base Map - Middle                               AREA (Trad)
                        2015-2016 WCPSS School Assignment   CARROLL MS 2015 BASE ATTENDANCE
197 P                   Base Map - Middle                               AREA (Trad)
                        2015-2016 WCPSS School Assignment   CENTENNIAL 2015 BASE ATTENDANCE
                                                            MS
198 P                   Base Map - Middle                               AREA (Mod)
                        2015-2016 WCPSS School Assignment   DANIELS MS 2015 BASE ATTENDANCE
199 P                   Base Map - Middle                               AREA (Trad)
                        2015-2016 WCPSS School Assignment   DAVIS DR MS 2015 BASE ATTENDANCE
200 P                   Base Map - Middle                               AREA (Trad)
                        2015-2016 WCPSS School Assignment   DILLARD DR 2015 BASE ATTENDANCE
                                                            MS
201 P                   Base Map - Middle                               AREA (Trad)
                        2015-2016 WCPSS School Assignment   DURANT RD 2015 BASE ATTENDANCE
                                                            MS
202 P                   Base Map - Middle                               AREA (YR)
                        2015-2016 WCPSS School Assignment   E CARY MS   2015 BASE ATTENDANCE
203 P                   Base Map - Middle                               AREA (YR)
                        2015-2016 WCPSS School Assignment   E GARNER    2015 BASE ATTENDANCE
                                                            MS
204 P                   Base Map - Middle                               AREA (Trad)
                        2015-2016 WCPSS School Assignment   E           2015 BASE ATTENDANCE
                                                            MILLBROOK
205 P                   Base Map - Middle                               AREA (Trad)
                                                            MS
                        2015-2016 WCPSS School Assignment   E WAKE MS 2015 BASE ATTENDANCE
206 P                   Base Map - Middle                               AREA (YR-Trk 4)
                        2015-2016 WCPSS School Assignment   FUQUAY-     2015 BASE ATTENDANCE
                                                            VARINA MS
207 P                   Base Map - Middle                               AREA (Trad)
                        2015-2016 WCPSS School Assignment   HERITAGE    2015 BASE ATTENDANCE
                                                            MS
208 P                   Base Map - Middle                               AREA (YR)
                        2015-2016 WCPSS School Assignment   HOLLY       2015 BASE ATTENDANCE
                                                            GROVE MS
209 P                   Base Map - Middle                               AREA (YR)


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                        2015-2016 WCPSS School Assignment   HOLLY        2015 BASE ATTENDANCE
                                                            RIDGE MS
210 P                   Base Map - Middle                                AREA (Trad)
                        2015-2016 WCPSS School Assignment   LEESVILLE    2015 BASE ATTENDANCE
                                                            RD MS
211 P                   Base Map - Middle                                AREA (Trad)
                        2015-2016 WCPSS School Assignment   LIGON MS     2015 BASE ATTENDANCE
212 P                   Base Map - Middle                                AREA (Trad)
                        2015-2016 WCPSS School Assignment   LUFKIN RD    2015 BASE ATTENDANCE
                                                            MS
213 P                   Base Map - Middle                                AREA (YR)
                        2015-2016 WCPSS School Assignment   MARTIN MS    2015 BASE ATTENDANCE
214 P                   Base Map - Middle                                AREA (Trad)
                        2015-2016 WCPSS School Assignment   MILLS PARK   2015 BASE ATTENDANCE
                                                            MS
215 P                   Base Map - Middle                                AREA (Trad)
                        2015-2016 WCPSS School Assignment   MOORE        2015 BASE ATTENDANCE
                                                            SQUARE MS
216 P                   Base Map - Middle                                AREA (Mod)
                        2015-2016 WCPSS School Assignment   N GARNER     2015 BASE ATTENDANCE
                                                            MS
217 P                   Base Map - Middle                                AREA (YR-Trk 4)
                        2015-2016 WCPSS School Assignment   REEDY        2015 BASE ATTENDANCE
                                                            CREEK MS
218 P                   Base Map - Middle                                AREA (Trad)
                        2015-2016 WCPSS School Assignment   ROLESVILLE   2015 BASE ATTENDANCE
                                                            MS
219 P                   Base Map - Middle                                AREA (YR)
                        2015-2016 WCPSS School Assignment   SALEM MS     2015 BASE ATTENDANCE
220 P                   Base Map - Middle                                AREA (YR)
                        2015-2016 WCPSS School Assignment   WAKEFIELD    2015 BASE ATTENDANCE
                                                            MS
221 P                   Base Map - Middle                                AREA (Trad)
                        2015-2016 WCPSS School Assignment   WAKE         2015 BASE ATTENDANCE
                                                            FOREST MS
222 P                   Base Map - Middle                                AREA (Trad)
                        2015-2016 WCPSS School Assignment   WENDELL      2015 BASE ATTENDANCE
                                                            MS
223 P                   Base Map - Middle                                AREA (Trad)
                        2015-2016 WCPSS School Assignment   W CARY MS    2015 BASE ATTENDANCE
224 P                   Base Map - Middle                                AREA (Trad)
                        2015-2016 WCPSS School Assignment   W LAKE MS    2015 BASE ATTENDANCE
225 P                   Base Map - Middle                                AREA (YR)
                        2015-2016 WCPSS School Assignment   W            2015 BASE ATTENDANCE
                                                            MILLBROOK
226 P                   Base Map - Middle                                AREA (Trad)
                                                            MS


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                        2015-2016 WCPSS School Assignment   ZEBULON MS 2015 BASE ATTENDANCE
227 P                   Base Map - Middle                                AREA (Trad)
                                                            APEX         2015 BASE ATTENDANCE
                        2015-2016 WCPSS School Assignment   FRIENDSHIP
228 P                   Base Map - High                     HS
                                                                         AREA (Trad)
                        2015-2016 WCPSS School Assignment   APEX HS    2015 BASE ATTENDANCE
229 P                   Base Map - High                                AREA (Trad)
                        2015-2016 WCPSS School Assignment   ATHENS DR 2015 BASE ATTENDANCE
                                                            HS
230 P                   Base Map - High                                AREA (Trad)
                        2015-2016 WCPSS School Assignment   BROUGHTON 2015 BASE ATTENDANCE
                                                            HS
231 P                   Base Map - High                                AREA (Trad)
                        2015-2016 WCPSS School Assignment   CARY HS    2015 BASE ATTENDANCE
232 P                   Base Map - High                                AREA (Trad)
                        2015-2016 WCPSS School Assignment   E WAKE HS 2015 BASE ATTENDANCE
233 P                   Base Map - High                                AREA (Trad)
                        2015-2016 WCPSS School Assignment   ENLOE HS   2015 BASE ATTENDANCE
234 P                   Base Map - High                                AREA (Trad)
                        2015-2016 WCPSS School Assignment   FUQUAY-    2015 BASE ATTENDANCE
                                                            VARINA HS
235 P                   Base Map - High                                AREA (Trad)
                        2015-2016 WCPSS School Assignment   GARNER HS 2015 BASE ATTENDANCE
236 P                   Base Map - High                                AREA (Trad)
                        2015-2016 WCPSS School Assignment   GREEN      2015 BASE ATTENDANCE
                                                            HOPE HS
237 P                   Base Map - High                                AREA (Trad)
                        2015-2016 WCPSS School Assignment   HERITAGE   2015 BASE ATTENDANCE
                                                            HS
238 P                   Base Map - High                                AREA (Trad)
                        2015-2016 WCPSS School Assignment   HOLLY      2015 BASE ATTENDANCE
                                                            SPRINGS HS
239 P                   Base Map - High                                AREA (Trad)
                        2015-2016 WCPSS School Assignment   KNIGHTDALE 2015 BASE ATTENDANCE
                                                            HS
240 P                   Base Map - High                                AREA (Trad)
                        2015-2016 WCPSS School Assignment   LEESVILLE  2015 BASE ATTENDANCE
                                                            RD HS
241 P                   Base Map - High                                AREA (Trad)
                        2015-2016 WCPSS School Assignment   MIDDLE     2015 BASE ATTENDANCE
                                                            CREEK HS
242 P                   Base Map - High                                AREA (Trad)
                        2015-2016 WCPSS School Assignment   MILLBROOK 2015 BASE ATTENDANCE
                                                            HS
243 P                   Base Map - High                                AREA (Trad)


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                                 2015-2016 WCPSS School Assignment          PANTHER    2015 BASE ATTENDANCE
                                                                            CREEK HS
244 P                            Base Map - High                                       AREA (Trad)
                                 2015-2016 WCPSS School Assignment          ROLESVILLE 2015 BASE ATTENDANCE
                                                                            HS
245 P                            Base Map - High                                       AREA (Trad)
                                 2015-2016 WCPSS School Assignment          SANDERSON 2015 BASE ATTENDANCE
                                                                            HS
246 P                            Base Map - High                                       AREA (Trad)
                                 2015-2016 WCPSS School Assignment          SOUTHEAST 2015 BASE ATTENDANCE
                                                                            RALEIGH HS
247 P                            Base Map - High                                       AREA (Mod)
                                 2015-2016 WCPSS School Assignment          WAKEFIELD 2015 BASE ATTENDANCE
                                                                            HS
248 P                            Base Map - High                                       AREA (Trad)
                                 2015-2016 WCPSS School Assignment          WAKE       2015 BASE ATTENDANCE
                                                                            FOREST HS
249 P                            Base Map - High                                       AREA (Trad)
                                 Transcript - House Elections
250 P, D    5/29/2013            Commmittee, SB 325, May 29, 2013
                                 Transcript - House Elections
251 P, D    3/31/2015            Commmittee, SB 181, March 31, 2015
                                 SB 325 Stat Pack - Senate PCS reported
252 P       4/16/2013            April 17, 2013
                                 SB 181 - Stat Pack - Enacted Version -
                                 Also stat pack for enacted version of SB
253 P, D    3/11/2015            325
254 BLANK
255 BLANK
                                                                                       http://www.wakegov.co
                                                                                       m/gis/services/Documen
                                 Wake County School Board Districts                    ts/SchoolBoardDistricts3
256 P, D                         Map (with precincts)                                  4x44.pdf
                                                                                       http://www.wakegov.co
                                                                                       m/gis/services/Documen
                                 2016 Wake County Board of Education                   ts/BOE_Election_Lettere
257 P, D                         Lettered Districts Map                                dSingleMembDist.pdf




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                                                                            http://www.wakegov.co
                                                                            m/gis/services/Documen
                                2018 Wake County Board of Eudcation         ts/BOE_Election_NumbSi
258 P, D                        Numbered Districts Map                      ngleMembDist.pdf
                                                                            http://www.wakegov.co
                                                                            m/gis/services/Documen
                                2016 Wake County Board of                   ts/BOCLetteredDistrict_P
259 P, D                        Commissioners Lettered Districts Map        recincts.pdf
                                                                            http://www.wakegov.co
                                                                            m/gis/services/Documen
                                                                            ts/BOCNumberedDistrict
                                                                            _Precincts.pdf
                                2016 Wake County Board of
260 P, D                        Commissioners Numbered Districts Map
                                                                            http://www.wakegov.co
                                                                            m/gis/services/Documen
261 D                           Wake County Corporate Limits Map            ts/Corp_34x34.pdf
                                                                            http://msweb03.co.wake
                                Wake County Voter Registration              .nc.us/bordelec/downloa
262 D                           Statistics - Board of Commissioners         ds/7stats/ccom.pdf
                                Wake County Voter Registration
                                Statistics - Board of Commissioners
263 D      12/1/2015            Lettered Districts Only
                                Wake County Voter Registration
264 D      12/1/2015            Statistics - Numbered Districts Only
                                                                            http://msweb03.co.wake
                                Wake County Voter Registration              .nc.us/bordelec/downloa
265 D      12/1/2015            Statistics - Board of Education Districts   ds/7stats/school.pdf
                                                                            http://msweb03.co.wake
                                Wake County Voter Registration -            .nc.us/bordelec/downloa
266 D      12/1/2015            Municipalities                              ds/7stats/muni.pdf
                                                                            http://vt.ncsbe.gov/Vote
                                North Carolina Voter Statistics by          r_Stats/results.aspx?date
267 D      1/31/2015            County                                      =01-31-2015


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                                                                       http://vt.ncsbe.gov/Vote
                              North Carolina Voter Statistics by       r_Stats/results.aspx?date
268 D     1/5/2013            County                                   =01-05-2013
                                                                       http://www.wakegov.co
                                                                       m/elections/data/Registr
                              Wake County Voter Registration by        ation%20Statistics/2013/
269 D                         Precinct - January 2013                  PDF%20Files/20130102st
                                                                       http://www.wakegov.co
                                                                       m/elections/data/Registr
                              Wake County Voter Registration by        ation%20Statistics/2015/
270 D                         Precinct - January 2015                  PDF%20Files/20150106st
                                                                       http://www.wakegov.co
                                                                       m/elections/data/Past%
                                                                       20Election%20Results/20
                                                                       14-11-04%20-
                                                                       %20General%20Election/
271 D   11/14/2014            2014 General Election Results- Canvass   2014.11.04.Canvass.htm
                                                                       http://www.wakegov.co
                                                                       m/elections/data/Past%
                                                                       20Election%20Results/20
                                                                       12-11-06%20-
                                                                       %20General%20Election/
272 D   12/12/2012            2012 General Election Results- Canvass   2012.11.06.Canvass.htm
                                                                       http://www.wakegov.co
                                                                       m/elections/data/Past%
                                                                       20Election%20Results/20
                                                                       10-11-02%20-
                                                                       %20General%20Election/
273 D                         2010 General Election Results- Canvass   2010.11.02.Canvass.html
                              Anthony Fairfax - Wake County NC
                              Places 2010-2014-2020 Growth
274 P                         Estimates
                              Anthony Fairfax - Wake Places
275 P                         Population Growth 2010-14 Thematic


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                        Wake County Demographics October
276 P                   2015
                        Map Submitted by Amy Womble -
                        House Elections Committee - March 31,
                        2015 - Municipalities with Numbered
277 P                   Districts Overlay
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 304        ASE_ATTENDANCE_AREA
278 P                   ADAMS ES                                 _MAP_2013_14_304.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 307-       ASE_ATTENDANCE_AREA
279 P                   ALSTON RIDGE ES                          _MAP_2013_14_307.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 308        ASE_ATTENDANCE_AREA
280 P                   APEX ES                                  _MAP_2013_14_307.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 316        ASE_ATTENDANCE_AREA
281 P                   APEX HS                                  _MAP_2013_14_316.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 312        ASE_ATTENDANCE_AREA
282 P                   APEX MS                                  _MAP_2013_14_312.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 318        ASE_ATTENDANCE_AREA
283 P                   ATHENS DRIVE HS                          _MAP_2013_14_318.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 320        ASE_ATTENDANCE_AREA
284 P                   AVERSBORO ES                             _MAP_2013_14_320.pdf


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                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 326        ASE_ATTENDANCE_AREA
285 P                   BAILEYWICK ES                            _MAP_2013_14_326.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 327        ASE_ATTENDANCE_AREA
286 P                   BALLENTINE ES                            _MAP_2013_14_327.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 325        ASE_ATTENDANCE_AREA
287 P                   BANKS ROAD ES                            _MAP_2013_14_325.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 329        ASE_ATTENDANCE_AREA
288 P                   BAREWELL ROAD ES                         _MAP_2013_14_329.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendsance Area- 328       ASE_ATTENDANCE_AREA
289 P                   BAUCOM ES                                _MAP_2013_14_328.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 334        ASE_ATTENDANCE_AREA
290 P                   BRASSFIELD ES                            _MAP_2013_14_334.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 336        ASE_ATTENDANCE_AREA
291 P                   BRENTWOOD ES                             _MAP_2013_14_336.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 340        ASE_ATTENDANCE_AREA
292 P                   BRIARCLIFF ES                            _MAP_2013_14_340.pdf




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                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 342        ASE_ATTENDANCE_AREA
293 P                   BRIAR CREEK ES                           _MAP_2013_14_342.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 344        ASE_ATTENDANCE_AREA
294 P                   BROOKS ES                                _MAP_2013_14_344.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 348        ASE_ATTENDANCE_AREA
295 P                   BROUGHTON HS                             _MAP_2013_14_348.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 352        ASE_ATTENDANCE_AREA
296 P                   BUGG ES                                  _MAP_2013_14_352.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 356        ASE_ATTENDANCE_AREA
297 P                   CARNAGE MS                               _MAP_2013_14_356.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 358        ASE_ATTENDANCE_AREA
298 P                   CARPENTER ES                             _MAP_2013_14_358.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 360        ASE_ATTENDANCE_AREA
299 P                   CARROLL MS                               _MAP_2013_14_360.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 362        ASE_ATTENDANCE_AREA
300 P                   CARVER ES                                _MAP_2013_14_362.pdf




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                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 364        ASE_ATTENDANCE_AREA
301 P                   CARY ES                                  _MAP_2013_14_364.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 368        ASE_ATTENDANCE_AREA
302 P                   CARY HS                                  _MAP_2013_14_368.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 369        ASE_ATTENDANCE_AREA
303 P                   CEDAR FORK ES                            _MAP_2013_14_369.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 370        ASE_ATTENDANCE_AREA
304 P                   CENTENNIAL MS                            _MAP_2013_14_370.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 376        ASE_ATTENDANCE_AREA
305 P                   COMBS ES                                 _MAP_2013_14_376.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 380        ASE_ATTENDANCE_AREA
306 P                   CONN ES                                  _MAP_2013_14_380.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 384        ASE_ATTENDANCE_AREA
307 P                   CREECH ROAD ES                           _MAP_2013_14_384.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 388        ASE_ATTENDANCE_AREA
308 P                   DANIEL MS                                _MAP_2013_14_388.pdf




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                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 390        ASE_ATTENDANCE_AREA
309 P                   DAVIS DRIVE ES                           _MAP_2013_14_390.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 391        ASE_ATTENDANCE_AREA
310 P                   DAVIS DRIVE MS                           _MAP_2013_14_391.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 393        ASE_ATTENDANCE_AREA
311 P                   DILLARD DRIVE ES                         _MAP_2013_14_393.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 394        ASE_ATTENDANCE_AREA
312 P                   DILLARD DRIVE MS                         _MAP_2013_14_394.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 396        ASE_ATTENDANCE_AREA
313 P                   DOUGLAS ES                               _MAP_2013_14_396.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 398        ASE_ATTENDANCE_AREA
314 P                   DURANT ROAD ES                           _MAP_2013_14_398.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 399        ASE_ATTENDANCE_AREA
315 P                   DURANT ROAD MS                           _MAP_2013_14_399.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area-402         ASE_ATTENDANCE_AREA
316 P                   EAST CARY MS                             _MAP_2013_14_402.pdf




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                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 403        ASE_ATTENDANCE_AREA
317 P                   EAST GARNER ES                           _MAP_2013_14_403.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 404        ASE_ATTENDANCE_AREA
318 P                   EAST GARNER MS                           _MAP_2013_14_404.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 408        ASE_ATTENDANCE_AREA
319 P                   EAST MILLBROOK MS                        _MAP_2013_14_408.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 411        ASE_ATTENDANCE_AREA
320 P                   EAST WAKE HS                             _MAP_2013_14_411.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 410        ASE_ATTENDANCE_AREA
321 P                   EAST WAKE MS                             _MAP_2013_14_410.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 412        ASE_ATTENDANCE_AREA
322 P                   ENLOE HS                                 _MAP_2013_14_412.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 414        ASE_ATTENDANCE_AREA
323 P                   FARMINGTON WOODS ES                      _MAP_2013_14_414.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 417        ASE_ATTENDANCE_AREA
324 P                   FOREST PINES DRIVE ES                    _MAP_2013_14_417.pdf




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                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 413        ASE_ATTENDANCE_AREA
325 P                   FORESTVILLE ROAD ES                      _MAP_2013_14_413.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 415 FOX    ASE_ATTENDANCE_AREA
326 P                   ROAD ES                                  _MAP_2013_14_415.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 416        ASE_ATTENDANCE_AREA
327 P                   FULLER ES                                _MAP_2013_14_416.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 420        ASE_ATTENDANCE_AREA
328 P                   FUQUAY-VARINA ES                         _MAP_2013_14_420.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 428        ASE_ATTENDANCE_AREA
329 P                   FUQUAY-VARINA HS                         _MAP_2013_14_428.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 424        ASE_ATTENDANCE_AREA
330 P                   FUQUAY-VARINA MS                         _MAP_2013_14_424.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 436        ASE_ATTENDANCE_AREA
331 P                   GARNER HS                                _MAP_2013_14_436.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 440        ASE_ATTENDANCE_AREA
332 P                   GREEN ES                                 _MAP_2013_14_440.pdf




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                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 439        ASE_ATTENDANCE_AREA
333 P                   GREEN HOPE ES                            _MAP_2013_14_439.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 441        ASE_ATTENDANCE_AREA
334 P                   GREEN HOPE HS                            _MAP_2013_14_441.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 451        ASE_ATTENDANCE_AREA
335 P                   HARRIS CREEK ES                          _MAP_2013_14_451.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 306        ASE_ATTENDANCE_AREA
336 P                   HERBERT ATKINS ROAD ES                   _MAP_2013_14_306.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 454        ASE_ATTENDANCE_AREA
337 P                   HERITAGE ES                              _MAP_2013_14_454.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 445        ASE_ATTENDANCE_AREA
338 P                   HERITAGE HS                              _MAP_2013_14_445.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 444        ASE_ATTENDANCE_AREA
339 P                   HERITAGE MS                              _MAP_2013_14_444.pdf
                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 443        ASE_ATTENDANCE_AREA
340 P                   HIGHCROFT DRIVE ES                       _MAP_2013_14_443.pdf




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                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 442        ASE_ATTENDANCE_AREA
341 P                   HILBURN DRIVE ACADEMY                    _MAP_2013_14_442.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 446        ASE_ATTENDANCE_AREA
342 P                   HODGE ROAD ES                            _MAP_2013_14_446.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 457        ASE_ATTENDANCE_AREA
343 P                   HOLLY GROVE ES                           _MAP_2013_14_457.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 458        ASE_ATTENDANCE_AREA
344 P                   HOLLY GROVE MS                           _MAP_2013_14_458.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 449        ASE_ATTENDANCE_AREA
345 P                   HOLLY RIDGE ES                           _MAP_2013_14_449.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 450        ASE_ATTENDANCE_AREA
346 P                   HOLLY RIDGE MS                           _MAP_2013_14_450.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 447        ASE_ATTENDANCE_AREA
347 P                   HOLLY SPRINGS ES                         _MAP_2013_14_447.pdf


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                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 455        ASE_ATTENDANCE_AREA
348 P                   HOLLY SPRINGS HS                         _MAP_2013_14_455.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 448        ASE_ATTENDANCE_AREA
349 P                   HUNTER ES                                _MAP_2013_14_448.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 452        ASE_ATTENDANCE_AREA
350 P                   JEFFREY GROVE ES                         _MAP_2013_14_452.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 453        ASE_ATTENDANCE_AREA
351 P                   JONES DAIRY ES                           _MAP_2013_14_453.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 456        ASE_ATTENDANCE_AREA
352 P                   JOYNER ES                                _MAP_2013_14_456.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 460        ASE_ATTENDANCE_AREA
353 P                   KINGSWOOD ES                             _MAP_2013_14_460.pdf




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                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 464        ASE_ATTENDANCE_AREA
354 P                   KNIGHTDALE ES                            _MAP_2013_14_464.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 466        ASE_ATTENDANCE_AREA
355 P                   KNIGHTDALE HS                            _MAP_2013_14_466.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 468        ASE_ATTENDANCE_AREA
356 P                   LACY ES                                  _MAP_2013_14_468.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 474        ASE_ATTENDANCE_AREA
357 P                   LAKE MYRA ES                             _MAP_2013_14_474.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 467        ASE_ATTENDANCE_AREA
358 P                   LAUREL PARK ES                           _MAP_2013_14_467.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 470        ASE_ATTENDANCE_AREA
359 P                   LEAD MINE ES                             _MAP_2013_14_470.pdf




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                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 469        ASE_ATTENDANCE_AREA
360 P                   LEESVILLE ROAD ES                        _MAP_2013_14_469.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 473        ASE_ATTENDANCE_AREA
361 P                   LEESVILLE ROAD HS                        _MAP_2013_14_473.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 471        ASE_ATTENDANCE_AREA
362 P                   LEESVILLE ROAD MS                        _MAP_2013_14_471.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 472        ASE_ATTENDANCE_AREA
363 P                   LIGON MS                                 _MAP_2013_14_472.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 476        ASE_ATTENDANCE_AREA
364 P                   LINCOLN HEIGHTS ES                       _MAP_2013_14_476.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 480        ASE_ATTENDANCE_AREA
365 P                   LOCKHART ES                              _MAP_2013_14_480.pdf




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                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 484        ASE_ATTENDANCE_AREA
366 P                   LUFKIN ROAD MS                           _MAP_2013_14_484.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 488        ASE_ATTENDANCE_AREA
367 P                   LYNN ROAD ES                             _MAP_2013_14_488.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 492        ASE_ATTENDANCE_AREA
368 P                   MARTIN MS                                _MAP_2013_14_492.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 494        ASE_ATTENDANCE_AREA
369 P                   MIDDLE CREEK ES                          _MAP_2013_14_494.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 495        ASE_ATTENDANCE_AREA
370 P                   MIDDLE CREEK HS                          _MAP_2013_14_495.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 496        ASE_ATTENDANCE_AREA
371 P                   MILLBROOK ES                             _MAP_2013_14_496.pdf




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                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 500        ASE_ATTENDANCE_AREA
372 P                   MILLBROOK HS                             _MAP_2013_14_500.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 501        ASE_ATTENDANCE_AREA
373 P                   MILLS PARK ES                            _MAP_2013_14_501.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 502        ASE_ATTENDANCE_AREA
374 P                   MILLS PARK MS                            _MAP_2013_14_502.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 506        ASE_ATTENDANCE_AREA
375 P                   MOORE SQUARE MUSEUMS MS                  _MAP_2013_14_506.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 504        ASE_ATTENDANCE_AREA
376 P                   MORRISVILLE ES                           _MAP_2013_14_504.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 514        ASE_ATTENDANCE_AREA
377 P                   NORTH FOREST PINES DRIVE ES              _MAP_2013_14_514.pdf




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                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 512        ASE_ATTENDANCE_AREA
378 P                   North Garner MS                          _MAP_2013_14_512.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 516        ASE_ATTENDANCE_AREA
379 P                   NORTH RIDGE ES                           _MAP_2013_14_516.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 520        ASE_ATTENDANCE_AREA
380 P                   NORTHWOODS ES                            _MAP_2013_14_520.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 522        ASE_ATTENDANCE_AREA
381 P                   OAK GROVE ES                             _MAP_2013_14_522.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 524        ASE_ATTENDANCE_AREA
382 P                   OLDS ES                                  _MAP_2013_14_524.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 523        ASE_ATTENDANCE_AREA
383 P                   OLIVE CHAPEL ES                          _MAP_2013_14_523.pdf




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                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 526        ASE_ATTENDANCE_AREA
384 P                   PANTHER CREEK HS                         _MAP_2013_14_526.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 525N       ASE_ATTENDANCE_AREA
385 P                   PARTNERSHIP ES                           _MAP_2013_14_525.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 530        ASE_ATTENDANCE_AREA
386 P                   PENNY ROAD ES                            _MAP_2013_14_530.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 531        ASE_ATTENDANCE_AREA
387 P                   PLEASANT UNION ES                        _MAP_2013_14_531.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 532        ASE_ATTENDANCE_AREA
388 P                   POE ES                                   _MAP_2013_14_532.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 536        ASE_ATTENDANCE_AREA
389 P                   POWELL ES                                _MAP_2013_14_536.pdf




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                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 540        ASE_ATTENDANCE_AREA
390 P                   RAND ROAD ES                             _MAP_2013_14_540.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 542        ASE_ATTENDANCE_AREA
391 P                   REEDY CREEK ES                           _MAP_2013_14_542.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 400        ASE_ATTENDANCE_AREA
392 P                   REEDY CREEK MS                           _MAP_2013_14_400.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 543        ASE_ATTENDANCE_AREA
393 P                   RICHLAND CREEK ES                        _MAP_2013_14_543.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 302        ASE_ATTENDANCE_AREA
394 P                   RIVER BEND ES                            _MAP_2013_14_302.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 544        ASE_ATTENDANCE_AREA
395 P                   ROLESVILLE ES                            _MAP_2013_14_544.pdf




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                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 546        ASE_ATTENDANCE_AREA
396 P                   ROLESVILLE HS                            _MAP_2013_14_546.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 545        ASE_ATTENDANCE_AREA
397 P                   ROLESVILLE MS                            _MAP_2013_14_545.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 548        ASE_ATTENDANCE_AREA
398 P                   ROOT ES                                  _MAP_2013_14_548.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 550        ASE_ATTENDANCE_AREA
399 P                   SALEM ES                                 _MAP_2013_14_550.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 551        ASE_ATTENDANCE_AREA
400 P                   SALEM MS                                 _MAP_2013_14_551.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 552        ASE_ATTENDANCE_AREA
401 P                   SANDERSON HS                             _MAP_2013_14_552.pdf




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                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 554        ASE_ATTENDANCE_AREA
402 P                   SANFORD CREEK ES                         _MAP_2013_14_554.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 560        ASE_ATTENDANCE_AREA
403 P                   SMITH ES                                 _MAP_2013_14_560.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 562        ASE_ATTENDANCE_AREA
404 P                   SOUTHEAST RALEIGH HS                     _MAP_2013_14_562.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 564        ASE_ATTENDANCE_AREA
405 P                   STOUGH ES                                _MAP_2013_14_564.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 568        ASE_ATTENDANCE_AREA
406 P                   SWIFT CREEK ES                           _MAP_2013_14_568.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 569        ASE_ATTENDANCE_AREA
407 P                   SYCAMORE CREEK ES                        _MAP_2013_14_569.pdf




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                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 570        ASE_ATTENDANCE_AREA
408 P                   TIMBER DRIVE ES                          _MAP_2013_14_570.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 571        ASE_ATTENDANCE_AREA
409 P                   TURNER CREEK ES                          _MAP_2013_14_571.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 572        ASE_ATTENDANCE_AREA
410 P                   UNDERWOOD ES                             _MAP_2013_14_572.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 576        ASE_ATTENDANCE_AREA
411 P                   VANCE ES                                 _MAP_2013_14_576.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 580        ASE_ATTENDANCE_AREA
412 P                   VANDORA SPRINGS ES                       _MAP_2013_14_580.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 593        ASE_ATTENDANCE_AREA
413 P                   WAKEFIELD ES                             _MAP_2013_14_593.pdf




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                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 595        ASE_ATTENDANCE_AREA
414 P                   WAKEFILED HS                             _MAP_2013_14_595.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 594        ASE_ATTENDANCE_AREA
415 P                   WAKEFILED MS                             _MAP_2013_14_594.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 584        ASE_ATTENDANCE_AREA
416 P                   WAKEFOREST ES                            _MAP_2013_14_584.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 588        ASE_ATTENDANCE_AREA
417 P                   WAKE FOREST HS                           _MAP_2013_14_588.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 592        ASE_ATTENDANCE_AREA
418 P                   WAKE FOREST MS                           _MAP_2013_14_592.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 597        ASE_ATTENDANCE_AREA
419 P                   WAKELON ES                               _MAP_2013_14_597.pdf




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                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 599        ASE_ATTENDANCE_AREA
420 P                   WALNUT CREEK ES                          _MAP_2013_14_599.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 596        ASE_ATTENDANCE_AREA
421 P                   WASHINGTON ES                            _MAP_2013_14_596.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 598        ASE_ATTENDANCE_AREA
422 P                   WEATHERSTONE ES                          _MAP_2013_14_598.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 600        ASE_ATTENDANCE_AREA
423 P                   WENDELL ES                               _MAP_2013_14_600.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 601        ASE_ATTENDANCE_AREA
424 P                   WENDELL MS                               _MAP_2013_14_601.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 604        ASE_ATTENDANCE_AREA
425 P                   WEST CARY MS                             _MAP_2013_14_604.pdf




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                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 606        ASE_ATTENDANCE_AREA
426 P                   WEST LAKE ES                             _MAP_2013_14_606.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendace Area- 607         ASE_ATTENDANCE_AREA
427 P                   WEST LAKE MS                             _MAP_2013_14_607.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 608        ASE_ATTENDANCE_AREA
428 P                   WEST MILLBROOK MS                        _MAP_2013_14_608.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 616        ASE_ATTENDANCE_AREA
429 P                   WILBURN ES                               _MAP_2013_14_616.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 618        ASE_ATTENDANCE_AREA
430 P                   WILDWOOD FOREST ES                       _MAP_2013_14_618.pdf

                                                                 http://wwwgis2.wcpss.n
                                                                 et/pdf_maps/2013_14/B
                        2013-14 Base Attendance Area- 620        ASE_ATTENDANCE_AREA
431 P                   WILEY ES                                 _MAP_2013_14_620.pdf




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                                                                      http://wwwgis2.wcpss.n
                                                                      et/pdf_maps/2013_14/B
                             2013-14 Base Attendance Area- 624        ASE_ATTENDANCE_AREA
432 P                        WILLOW SPRINGS ES                        _MAP_2013_14_624.pdf

                                                                      http://wwwgis2.wcpss.n
                                                                      et/pdf_maps/2013_14/B
                             2013-14 Base Attendance Area- 626        ASE_ATTENDANCE_AREA
433 P                        YATES MILL ES                            _MAP_2013_14_626.pdf

                                                                      http://wwwgis2.wcpss.n
                                                                      et/pdf_maps/2013_14/B
                             2013-14 Base Attendance Area- 628        ASE_ATTENDANCE_AREA
434 P                        YORK ES                                  _MAP_2013_14_628.pdf

                                                                      http://wwwgis2.wcpss.n
                                                                      et/pdf_maps/2013_14/B
                             2013-14 Base Attendance Area- 632        ASE_ATTENDANCE_AREA
435 P                        ZEBULON ES                               _MAP_2013_14_632.pdf

                                                                      http://wwwgis2.wcpss.n
                                                                      et/pdf_maps/2013_14/B
                             2013-14 Base Attendance Area- 636        ASE_ATTENDANCE_AREA
436 P                        ZEBULON MS                               _MAP_2013_14_636.pdf

                                                                      http://eboard.eboardsol
                                                                      utions.com/Meetings/Att
                             Wake Board of Education Resolution on    achment.aspx?S=920&AI
437 P   4/23/2013            Redistricting                            D=47751&MID=2197

                                                                      http://www.ncleg.net/Se
                                                                      ssions/2013/Bills/Senate
438 P   6/13/2013            S.B. 325                                 /PDF/S325v6.pdf


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                                                                     http://www.ncleg.net/Se
                                                                     ssions/2015/Bills/Senate
439 P   4/2/2015            S.B. 181                                 /PDF/S181v6.pdf
                                                                     http://www.ncleg.net/ga
                                                                     scripts/BillLookUp/BillLo
                                                                     okUp.pl?Session=2013&
                                                                     BillID=SB+325&submitBu
440 P                       S.B. 325 Bill History Page               tton=Go
                                                                     http://www.ncleg.net/ga
                                                                     scripts/BillLookUp/BillLo
                                                                     okUp.pl?Session=2015&
                                                                     BillID=SB+181&submitBu
441 P                       S.B. 181 Bill History Page               tton=Go

                                                                     http://factfinder.census.
                                                                     gov/faces/tableservices/j
                                                                     sf/pages/productview.xh
442 P                       2000 Census Data - Wake County, NC       tml?src=bkmk

                                                                     http://factfinder.census.
                                                                     gov/faces/tableservices/j
                                                                     sf/pages/productview.xh
443 P                       2010 Census Data - Wake County, NC       tml?src=bkmk




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                                                                      http://www.wakegov.co
                                                                      m/elections/data/Past%
                                                                      20Election%20Results/20
                                                                      03-10-07%20-
                                                                      %20Raleigh%20and%20C
                                                                      ary%20Municipal%20and
                                                                      %20Board%20of%20Edu
                                                                      cation%20Election,%20a
                                                                      nd%20Wake%20County
                                                                      %20and%20Raleigh%20B
                             Wake County Board of Education           ond%20Referendums/20
444 P   10/7/2003            Election Results, 2003                   031007Summary.txt

                                                                      http://www.wakegov.co
                                                                      m/elections/data/Past%
                                                                      20Election%20Results/20
                                                                      01-10-09%20-
                                                                      %20Raleigh%20and%20C
                                                                      ary%20Municipal%20and
                                                                      %20Board%20of%20Edu
                             Wake County Board of Education           cation%20Election/2001
445 P   10/9/2001            Election Results 2001                    1009Summary.txt
                                                                      http://www.wakegov.co
                                                                      m/elections/data/Past%
                                                                      20Election%20Results/20
                                                                      01-11-06%20-
                                                                      %20Municipal%20Electio
                                                                      ns%20and%20Raleigh,%2
                                                                      0Cary,%20and%20Board
                                                                      %20of%20Education%20
                             Wake County Board of Education           Runoffs/20011106Summ
446 P   11/6/2001            Election Results 2001 Runoff             ary.txt



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                                                                         http://charmeck.org/me
                                                                         cklenburg/county/Open
                                                                         Mecklenburg/2011Redist
                             "Redistricting for Local Governments        ricting/Documents/Scho
                             After the 2010 Census," Robert P. Joyce,    ol%20of%20Government
447 P   10/8/2010            UNC-Chapel Hill School of Government        %20overview.pdf
                             2011 Plan - Whole Plan - Geocoded
448 P                        Schools
                             2011 Plan - Whole Plan - Geocoded
449 P                        Schools View 2
450 P                        2011 Plan - Leesville HS Zoom
451 P                        2011 Plan - Garner HS Zoom
                             2011 Plan - Broughton HS Martin MS
452 P                        Zoom
                             S.B. 325 - Numbered Districts -
453 P                        Geocoded Schools
                             S.B. 325 - Numbered Districts -
454 P                        Geocoded Schools View 2
                             S.B. 325 - Super Districts - Geocoded
455 P                        Schools
                             S.B. 325 - Numbered Districts - Leesville
456 P                        HS Zoom
                             S.B. 325 - Numbered Districts - Garner
457 P                        HS Zoom
                             S.B. 325 - Numbered Districts -
458 P                        Broughton HS Martin MS Zoom
                             Email from Cherie Poucher to Ron
459 P    1/6/2011            Margiotta re 2011 Redistricting
                             Email from Ann Majestic to Wake
                             County School Board Members Re: 2001
460 P    2/8/2011            Redistricting




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                             Email Thread, WCPSS School-
                             Community News - "Board Hears from
461 P   2/19/2011            Attorney Shanahan on Redistricting"
                             Email from John Branch to Ron
                             Margiotta, 2010 District Population
462 P   4/13/2011            Deviations
463 P                        Chen Simulation Figures
464 P                        Chen Election Results Figures 3
465 P                        Jowei Chen CV
                             Email thread, Donna Williams, John
466 P   4/30/2013            Tedesco and Brent Woodcox
                             Email thread, Donna Williams, Brent
467 P    5/7/2013            Woodcox, et al.
                             Email thread, Donna Williams, Neal
468 P    6/4/2013            Hunt, et al.
                             Fairfax 2013 School Board Incumbent
469 P                        Names Map

                                                                      http://ncleg.net/Applicat
                             Rep. Gill Amendment A1 to Senate Bill    ions/BillLookUp/LoadBill
                             181                                      Document.aspx?SessionC
                                                                      ode=2015&DocNum=267
470 P    4/1/2015                                                     4&SeqNum=0

                                                                      http://ncleg.net/Applicat
                                                                      ions/BillLookUp/LoadBill
                                                                      Document.aspx?SessionC
                             Rep. Gill A1 Amendment Map alternate     ode=2015&DocNum=267
471 P    4/1/2015            districts                                4&SeqNum=1




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                                                                        ions/BillLookUp/LoadBill
                                                                        Document.aspx?SessionC
                             Rep. Gill A1 Amendment Stats alternate     ode=2015&DocNum=267
472 P    4/1/2015            districts - numbered districts             4&SeqNum=2

                                                                        http://ncleg.net/Applicat
                                                                        ions/BillLookUp/LoadBill
                                                                        Document.aspx?SessionC
                             Rep. Gill A1 Amendment Stats alternate     ode=2015&DocNum=267
473      4/1/2015            districts - super districts                4&SeqNum=3

                                                                        http://www.ncleg.net/A
                                                                        pplications/BillLookUp/L
                                                                        oadBillDocument.aspx?S
                                                                        essionCode=2013&DocN
474     6/10/2013            Rep. Jackson Amendment                     um=5861&SeqNum=0
475 P                        S.B. 325 Process Demonstrative
476 P                        S.B. 181 Process Demonstrative
                             Political Subdivisons Spilt Between
477 P                        Parties

                             Email thread entitled "Re: Thank you all
478 P   5/29/2015            for today's success with SB 325"

                             Email thread entitled "FW: SB 325 Wake
479 P    4/1/2013            County School Board Districts"
                             Email thread entitled "Re: PRESS
                             RELEASE: Barefoot files local bill to
                             increase representation and geographic
                             diversity on the Wake County Board of
480 P    3/4/2015            Commissioners"



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